                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION
In re:

LINEAR MOLD & ENGINEERING,                                        Case No.: 21-42617-mar
LLC,                                                              Chapter 11

         Debtor.                                                  Hon. Mark A. Randon


              ORDER ALLOWING PROOF OF CLAIM OF INDUSTRIAL
                    DEVELOPMENT AND HOLDINGS, LLC

         This matter having come before the Court upon the stipulation of the Parties; the Court having

reviewed the stipulation and finding good cause to grant the relief agreed upon therein;

         NOW, THEREFORE, IT IS ORDERED:

         1.      The Proof of Claim of Industrial Development and Holdings, LLC (Claim No. 15) is hereby

ALLOWED as a Class IX general unsecured claim in the amount of $200,000.00 under the Debtor’s Plan

of Reorganization [Docket No. 100], which was confirmed by Order of this Court on August 2, 2021

[Docket No. 128];

         2.      The parties shall dismiss the litigation in Wayne County Circuit Court with prejudice and

without costs to either party;

         3.      This Court shall retain jurisdiction regarding any disputes regarding the subject matter

contained herein.


Signed on October 4, 2021




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